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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
LHE                                                   271 Cadman Plaza East
F. #2021R00136                                        Brooklyn, New York 11201


                                                      April 22, 2024

By ECF

The Honorable Frederic Block
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Jebara Igbara
                       Criminal Docket No. 22-424 (FB)

Dear Judge Block:

                The government respectfully submits this letter in connection with the defendant’s
sentencing, currently scheduled for April 24, 2022 at 3 p.m. The government respectfully submits
that a custodial sentence within the range set forth in the plea agreement, 97 – 121 months, is
appropriate in this case.

I.      Offense Background

                 As set forth in the Presentence Investigation Report (“PSR”), this case arises out of
the defendant’s orchestration of multiple overlapping fraud schemes resulting in millions of dollars
of loss to trusting individuals. During the offense period of 2019 – 2021, the defendant maintained
a popular social media presence, primarily over Instagram, under the name “Jay Mazini.” PSR
¶¶ 11-12. At its height, his Instagram account had nearly one million followers. Id. The defendant
portrayed himself as a successful investor and businessman, and also posted material relating to
his Muslim faith and portraying himself as religious. He posted videos depicting himself handing
out large sums of cash to employees at fast food restaurants and retail stores. He claimed to operate
multiple businesses, including an apparel line, Mazini Italy, and a trading academy for individuals
looking to trade stocks called Mazini Academy. Id. ¶ 11.

               Igbara used his public persona in furtherance of the charged fraudulent schemes.
First, Mazini perpetrated an investment fraud scheme via a company called Halal Capital LLC
(“Halal Capaital”). PSR ¶ 14. In early 2019, Igbara became socially acquainted with a small
business owner, Individual #1, through a religious event at an Islamic center. Id. The defendant
touted his investing prowess to Individual #1 and offered to invest money on his behalf. Id.
Individual #1 gave Igbara $100,000 to invest, and shortly thereafter Igbara showed Individual #1
documents that purported to reflect a substantial return. Id. Igbara and Individual #1 then founded
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Halal Capital LLC, with the aim of raising money from other individuals to invest via Igbara. Id.
The purported investments through Halal Capital would be compliant with Muslim rules regarding
investing and debt. Individual #1 solicited investments from his contacts in the Muslim religious
community in Brooklyn as well as other small business owners. Id. ¶ 15. The investors were told
the money would be used to participate in short-term investment opportunities, in the stock market
but also in goods such as electronics and personal protective equipment. Id. The investors paid
money to Halal Capital both in cash and by wire transfer. For each opportunity, Igbara would
provide Individual #1 with a target return rate, up to 20%. Id. ¶ 16. At the “end” of the purported
investment, Igbara and Individual #1 would give investors the opportunity to withdraw, or “roll
over” their earnings and keep them in the fund. In total, Individual #1 and Igbara obtained between
$8-10 million from investors in Halal Capital.

              In reality, Halal Capital was a Ponzi scheme. Igbara did not invest the capital he
received via Individual #1 as promised, but instead spent it on luxury vehicles, jewelry, and
gambling. He also used some of the money to pay “returns” to earlier investors, and later in the
scheme, to pay back loans that third parties had given to him, which he used to keep the scheme
afloat. PSR ¶ 17.

               In order to continue to make promised payments to Halal Capital investors and to
his lenders, Igbara turned to additional fraud schemes, including the Bitcoin Scheme charged in
Count Two of the Indictment. PSR ¶ 19. The Bitcoin Scheme was simple; Igbara used his social
media accounts to tell prospective investors that he was locked out of legitimate crypto-currency
exchanges, but, eager to transact, offered to purchase Bitcoin at prices above the prevailing market
price in private transactions. Id. ¶ 20-21. Igbara would obtain the Bitcoin, and then send his
victims doctored confirmation statements falsely reflecting that he had wired the promised sums
in exchange. Id. He never sent the full balance owed, and instead stole the cryptocurrency.

               As his fraudulent schemes started to crumble in and around 2021, individuals began
posting on social media that Igbara was a fraudster and a scam artist. On or about March 15, 2021
Igbara requested to meet with one such social media user, and then arranged for two accomplices
to abduct and violently attack the user. PSR ¶¶ 26 – 28.




   II.     Sentencing Guidelines

              In the PSR, the United States Department of Probation calculated Igbara’s
Guidelines range as follows:




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               Base Offense Level                                                      33

               Plus: Offense of Conviction under 18 U.S.C. § 1956                      +2

               Plus: Obstruction of Justice                                            +2

               Minus: Acceptance of Responsibility                                     -3

               Total:                                                                  34

                Igbara falls within Criminal History Category I, and therefore Probation has
calculated his sentencing Guidelines Range to be 151 to 188 months, to be adjusted for the period
Igbara has spent in prison on his related state offense (the kidnapping described above). PSR ¶ 88.

                 Probation’s calculation differs from that set forth in the plea agreement in two ways.
First, the plea agreement used the wire fraud guideline, U.S.S.G. § 2B1.1, to calculate the offense
level applicable to the group, while the PSR used the money laundering guideline, U.S.S.G.
§ 2S1.1. This results in the PSR having a 2-level higher base offense level. The government
agrees that the PSR is correct in this regard, but nevertheless submits that a sentence within the
range provided in the plea agreement of 97 to 121 months is sufficient and not greater than
necessary to achieve the goals of sentencing.

                Second, Probation added an enhancement for obstruction of justice in relation to
the defendant’s conduct in kidnapping and attacking the individual who attempted to reveal his
schemes on social media. The government respectfully submits that this enhancement should not
apply, because the available evidence shows that this individual’s objective was to “out” Igbara as
a scam artist to the public and to other social media users, and not necessarily to reveal his scheme
to law enforcement. Igbara’s conduct, intended to punish and deter this individual, was not
therefore purposefully calculated to thwart the investigation of the offense of conviction. U.S.S.G.
3C1.1 Application Note 1.

               In the defendant’s sentencing submission, he notes that under the Guidelines any
federal sentence should be reduced by 1,134 days to account for the time Igbara has spent in state
custody and should run concurrent to the remaining portion of his state sentence; the government
agrees.

   III.    A Sentence in the Range of 97 – 121 Months is Appropriate

             In consideration of the factors applicable to sentencing under 18 U.S.C. § 3553(a),
the government respectfully submits that a substantial custodial term is appropriate.

               The offense is very serious; indeed the scale of Igbara’s fraud is breathtaking. He
stole over $8 million from a large number of people, many of whom were recruited from his own
religious community. He manipulated a close contact, Individual #1, and scores of people he met
over the internet by creating a false persona and touting his (fictional) success. As reflected in the
victim impact statements, he has left behind a trail of ruined lives, all in the name of his own greed.




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                Igbara’s individual characteristics reflect both the need for deterrence and reasons
for hope that he will change his life at the end of his sentence. First, Igbara’s scheme was
shockingly brazen and almost reckless, suggesting that a significant punishment is needed to
specifically deter him. Second, in the course of the offense Igbara engaged in an act of physical
violence in order to maintain his “public image” and prevent the house of cards he had built from
collapsing before his eyes. His willingness to resort to physical violence suggests that he poses a
danger to the community.



                                               In sum, the government submits that the Guidelines
range set forth in the plea agreement of 97 to 121 months is sufficient, but not greater than
necessary, to achieve the goals of sentencing.

      IV.      Restitution and Forfeiture

                The Probation Department received affidavits of loss from some, but not all, of
Igbara’s victims, and the government has recently identified an additional victim who is preparing
an affidavit of loss. Consequently the government respectfully asks that the Court set a further
date for a restitution hearing, and, should the parties reach agreement on a final amount of
restitution before that date, the parties can update the Court in advance.

              The government does request that the Court order forfeiture in the amount of
$10,062,713 as provided in the plea agreement.




                                                       Respectfully submitted,

                                                       BREON PEACE
                                                       United States Attorney

                                                By:     /s/ Lauren Howard Elbert
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cc:         Clerk of the Court (FB) (by ECF)
            Defense counsel (by ECF)
            Lisa Langone, United States Probation Officer (by Email)


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